                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          NO. 3:13-00097
                                               )          JUDGE SHARP
KENNETH STAFFORD [1]                           )


                                          ORDER

       Pursuant to Defendant’s Notice of Intention to Change Plea and Request to Set a Plea Date

(Docket No. 682), a hearing on a change of plea is hereby scheduled for Wednesday, October 22,

2014, at 1:30 p.m.

       It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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